Case 2:17-md-02789-CCC-MF Document 288-1 Filed 12/27/18 Page 1 of 4 PageID: 12910



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                         IN THE UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY
                                   NEWARK DIVISION



   IN RE: PROTON-PUMP INHIBITOR                        MDL No. 2789
   PRODUCTS LIABILITY LITIGATION
   (NO. II)                                            JUDGE CLAIRE C. CECCHI

                                                       MAGISTRATE MARK FALK

   This Document Relates to:                           Case No.: 2:17-md-2789 (CCC)(MF)

                                                        MEMORANDUM IN SUPPORT OF
   Peter Mos v. AstraZeneca Pharmaceuticals LP         MOTION FOR LEAVE TO WITHDRAW
   2:18-cv-05435-CCC-MF                                 AS ATTORNEY OF RECORD FOR
                                                            PLAINTIFF PETER MOS



                                       I.      INTRODUCTION

         The law firm of Seeger Weiss LLP and all associated counsel, through Christopher A.

  Seeger, represents Plaintiff Peter Mos in this pharmaceutical products liability action presently

  pending before this court. The action, which was filed on April 4, 2018 in the District of New

  Jersey, alleges that Plaintiff Peter Mos suffered personal injuries, inter alia, acute kidney injury

  and chronic kidney disease, as a result of his alleged ingestion of Nexium. The named

  Defendants, including AstraZeneca Pharmaceuticals LP, AstraZeneca LP, and Merck & Co. Inc.

  d/b/a Merck, Sharp & Dohme Corporation, are the manufacturers and distributors of Nexium.

         Good cause exists for permitting withdrawal of your undersigned counsel for Plaintiff in
Case 2:17-md-02789-CCC-MF Document 288-1 Filed 12/27/18 Page 2 of 4 PageID: 12911



  that a conflict has arisen between Plaintiff and his counsel, making it unreasonably difficult for

  the firm to continue to represent the client in this action. No case-specific discovery has yet been

  completed in this matter and no trial date has been set. Plaintiff will, therefore, not be prejudiced

  by the proposed withdrawal.

                                         II.     BACKGROUND

         The basic facts and procedural history at issue in this motion are not in dispute. This

  action was filed in the District of New Jersey on April 4, 2018 as part of MDL No. 2789: In re

  Proton-Pump Inhibitor Products Liability Litigation (No. II). Although general discovery

  relevant to all cases pending in this MDL has been ongoing, discovery specific to this action has

  not yet commenced. On February 5, 2018, the Court entered Case Management Order No. 9

  ("CMO 9") which required Plaintiffs to complete and serve a duly executed Plaintiff Fact Sheet

  and medical authorizations within specified time periods. Pursuant to CMO 9, Plaintiff’s Fact

  Sheet responses were due on October 13, 2018. Subsequently, on December 13, 2018,

  Defendants filed a motion to compel Plaintiffs’ Fact Sheet responses. For the reasons set forth in

  the Declaration of Asim M. Badaruzzaman, Esq., your undersigned counsel for Plaintiff now

  moves to withdraw as the attorney of record for Plaintiff in this action.

                                      III.     LEGAL STANDARD

         The applicable rules of professional conduct permit withdrawal of your undersigned

  counsel for Plaintiff. The New Jersey Rules of Professional Conduct allow an attorney to

  withdraw from representing a client if:

                 (1)     Withdrawal can be accomplished without material adverse effect on the
                         interests of the client;

                 (5)     the client fails substantially to fulfill an obligation to the lawyer regarding
                         the lawyer's services and has been given reasonable warning that the
                         lawyer will withdraw unless the obligation is fulfilled;

                                                    2
Case 2:17-md-02789-CCC-MF Document 288-1 Filed 12/27/18 Page 3 of 4 PageID: 12912




                 (6)     the representation will result in an unreasonable financial burden on the
                         lawyer or has been rendered unreasonably difficult by the client

                         … or

                 (7)     other good cause for withdrawal exists.

         RPC 1.16(b)(6). The RPC further require that the withdrawing attorney “take steps to the

  extent reasonably practicable to protect a client's interests, such as giving reasonable notice to the

  client, allowing time for employment of other counsel, [and] surrendering papers and property to

  which the client is entitled...” RPC 1.16(d).

                                           IV.     ARGUMENT

         As evidenced by the attached Declaration of Asim M. Badaruzzaman, Esq., good cause

  for withdrawal exists as a conflict has arisen between Plaintiff and his counsel making it

  unreasonably difficult for your undersigned and our law firm to continue to represent our client,

  Peter Mos.

         In addition, withdrawal can be accomplished without material adverse effect on the

  interests of the client. No case-specific discovery has yet been completed in this matter and no

  trial is set in the present action. Therefore, your undersigned respectfully seeks leave of the Court

  to withdraw from this action now. Plaintiff has adequate time to find substitute counsel if he so

  desires, and withdrawal at this stage will not cause any delay or prejudice to Plaintiff.

         Should the Court require specificity regarding the nature of the conflict that is the subject

  of this motion, Counsel for Plaintiff requests that the Court permit an in camera hearing to

  provide the Court with any additional information that the Court may deem necessary.

         WHEREFORE, Seeger Weiss LLP and all associated counsel respectfully request that

  this Honorable Court grant it leave to withdraw as counsel of record for the Plaintiff and that,



                                                    3
Case 2:17-md-02789-CCC-MF Document 288-1 Filed 12/27/18 Page 4 of 4 PageID: 12913



  should Plaintiff choose to continue to pursue this matter on his own or with new counsel, afford

  Plaintiff such reasonable time to secure new counsel and oppose Defendants’ motion to compel

  as the Court deems just and proper.



  Date: December 27, 2018                                    RESPECTFULLY SUBMITTED,

                                                             /s/ Christopher A. Seeger________
                                                             Christopher A. Seeger
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